Case 2:05-Cr-20248-BBD Document 3 Filed 08/11/05 Page 1 of 3 Page|D 15
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IN THE UNITED sTATEs DISTRICT C0URT F"“E‘:` “
FOR THE WESTERN DISTRICT oF TENNESSF,EB§ M; 1 \ FH ‘2: 99

WESTERN DIVISION

 

UNITED STATES OF AMERICA

criminal No. 02-20165
No. 05-20248 \/

<

STACY LAYNE BEAVERS

AGREED ORDER REGARDING TRAVEL RESTRICTIONS

This matter came before the Court on the application of the defendant, Stacy Layne
Beavers, for an order lifting travel restrictions regarding the defendant, and good cause appearing
therefor, with the agreement of the United States, with the understanding that the defendant’s
travel will not interfere with her appearance as a witness in the trial of co-defendants in this
cause, it is hereby ORDER_ED that travel restrictions shall not be imposed on the defendant as a
condition of or part of the probation heretofore ordered by the Court.

This // Mday of August, 2005.

ENTER:

 

Thls document entered on the docket sheet in cr.);npiiarice
with Ru!e ; ana/er azib) FHC,rP on ' ’ .)

 

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APPROVED FOR ENTRY:
DAN L. NEWSOM, ESQ. ,,,/ hawk

Senior Litigation Counsel
U. S. Attorney’s Office
Western District of Tennessee

RITCHIE, FELS & DILLARD, P.C.

By: .S/Z*M'LU ET'CLLJL¢ M'
RC)BERT W. RI_TCHIE, ESQ. ° “/fw“a¢w
STEPHEN ROSS JOHNSON
Attorney for Stacy Layne Beavers

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KEMPERIB. DURAND, ESQ.
Attorney for Stacy Layne Beavers

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
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Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Dan NeWsom

US ATTORNEY'S OFFICE
167 N Main St

Ste 800

1\/lemphis7 TN 38103

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

Stephen Ross Johnson

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

Honorable Bernice Donald
US DISTRICT COURT

